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                                                         BARSHAY SANDERS, PLLC
                                                         100 Garden City Plaza, Suite 500
                                                         Garden City, New York 11530
                                                         Tel: (516) 203-7600
                                                         Fax: (516) 706-5055
                                                         Email: ConsumerRights@BarshaySanders.com
                                                         Attorneys for Plaintiff
                                                         Our File No.: 109376

                                                                                    UNITED STATES DISTRICT COURT
                                                                                       DISTRICT OF COLORADO
                                                                                          DENVER DIVISION



                                                         JOSHUA PAUL TILATITSKY,                                    Docket No:

                                                                               Plaintiff,                           COMPLAINT

                                                                                    vs.
                    100 GARDEN CITY PLAZA, SUITE 500
     PLLC


                     GARDEN CITY, NEW YORK 11530




                                                                                                                    JURY TRIAL DEMANDED
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                                                         MEDICREDIT, INC.,

                                                                              Defendant.


                                                                 JOSHUA PAUL TILATITSKY (hereinafter referred to as “Plaintiff”), by and through the
                                                         undersigned counsel, complains, states and alleges against Medicredit, Inc. (hereinafter referred
                                                         to as “Defendant”), as follows:
                                                                                                INTRODUCTION
                                                                 1.     This action seeks to recover for violations of the Fair Debt Collection Practices
                                                         Act, 15 U.S.C. § 1692, et seq., (“FDCPA”) and New York General Business Law (“NYGBL”) §
                                                         349.


                                                                                            JURISDICTION AND VENUE
                                                                 2.     This Court has federal subject matter jurisdiction pursuant to 28 U.S.C. § 1331
                                                         and 15 U.S.C. § 1692k(d), and jurisdiction over the state law claims pursuant to 28 U.S.C. §
                                                         1367.
                                                                 3.     This Court has personal jurisdiction over Defendant because Defendant maintains



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                                                         its business in Colorado.
                                                                 4.       Venue is proper under 28 U.S.C. §1391(b) because Defendant resides in this
                                                         Judicial District.
                                                                 5.       At all relevant times, Defendant conducted business within Colorado.


                                                                                                       PARTIES

                                                                 6.       Plaintiff is an individual who is a citizen of the State of New York.
                                                                 7.       Plaintiff, a “consumer” as defined by 15 U.S.C. § 1692a(3), is allegedly obligated
                                                         to pay a debt.
                                                                 8.       On information and belief, Defendant's principal place of business is located in
                                                         Broomfield, Colorado.
                                                                 9.       Defendant is regularly engaged, for profit, in the collection of debts allegedly
                                                         owed by consumers.
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                                                                 10.      Defendant is a person who uses an instrumentality of interstate commerce or the
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                                                         mails in a business the principal purpose of which is the collection of debts, or who regularly
                                                         collects or attempts to collect, directly or indirectly, debts owed or due or asserted to be owed or
                                                         due another, and is therefore a “debt collector” as defined by 15 U.S.C. § 1692a(6).

                                                                                                   ALLEGATIONS

                                                                 11.      Plaintiff's alleged debt was primarily for personal, family or household purposes
                                                         and is therefore a “debt” as defined by 15 U.S.C. § 1692a(5).
                                                                 12.      Sometime after the incurrence of the debt, but before the initiation of this action,
                                                         Plaintiff is alleged to have fallen behind on payments allegedly owed on the alleged debt.
                                                                 13.      At a time known only to Defendant, Plaintiff's alleged debt was assigned or
                                                         otherwise transferred to Defendant for collection.
                                                                 14.      In its efforts to collect the alleged debt, Defendant contacted Plaintiff by written
                                                         correspondence annexed hereto as “Exhibit 1.”
                                                                 15.      Defendant's written correspondence to Plaintiff is a “communication” as defined
                                                         by 15 U.S.C. § 1692a(2).
                                                                 16.      As set forth in the following Counts, Defendant's communication violated the
                                                         FDCPA and NYGBL.


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                                                                                                   FIRST COUNT
                                                                                            Violation of 15 U.S.C. § 1692g
                                                                                                 Validation of Debts

                                                                 17.    Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.
                                                                 18.    15 U.S.C. § 1692g provides that within five days after the initial communication
                                                         with a consumer in connection with the collection of any debt, a debt collector shall, unless the
                                                         information is contained in the initial communication or the consumer has paid the debt, send the
                                                         consumer a written notice containing certain enumerated information.
                                                                 19.    The written notice must contain the amount of the debt.
                                                                 20.    The written notice must contain the name of the creditor to whom the debt is
                                                         owed.
                                                                 21.    The written notice must contain a statement that unless the consumer, within
                                                         thirty days after receipt of the notice, disputes the validity of the debt, or any portion thereof, the
                                                         debt will be assumed to be valid by the debt collector.
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                                                                 22.    The written notice must contain a statement that if the consumer notifies the debt
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                                                         collector in writing within the thirty-day period that the debt, or any portion thereof, is disputed,
                                                         the debt collector will obtain verification of the debt or a copy of a judgment against the
                                                         consumer and a copy of such verification or judgment will be mailed to the consumer by the debt
                                                         collector.
                                                                 23.    The written notice must contain a statement that, upon the consumer's written
                                                         request within the thirty-day period, the debt collector will provide the consumer with the name
                                                         and address of the original creditor, if different from the current creditor.
                                                                 24.    A debt collector has the obligation, not just to convey the required information,
                                                         but also to convey such clearly.
                                                                 25.    Even if a debt collector conveys the required information accurately, the debt
                                                         collector nonetheless violates the FDCPA if that information is overshadowed or contradicted by
                                                         other language in the communication.
                                                                 26.    Even if a debt collector conveys the required information accurately, the debt
                                                         collector nonetheless violates the FDCPA if that information is overshadowed by other collection
                                                         activities during the 30-day validation period following the communication.




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                                                                  27.     A collection activity or communication overshadows or contradicts the validation
                                                         notice if it would make the “unsophisticated consumer” uncertain or confused as to her rights.
                                                                  28.     Defendant’s letter states, “This is to inform you that Cartersville Medical Center has
                                                         placed your account with this agency with the full intention of collecting this account.”
                                                                  29.     Defendant’s letter states, “Please give this past due account the attention it
                                                         deserves.”
                                                                  30.     Defendant’s letter gives Plaintiff two options.
                                                                  31.     Defendant’s letter states, “Please either: 1. Remit payment in full to this office or,
                                                         2. Contact this office by telephone to arrange resolution of the account.
                                                                  32.     Conspicuously absent from the provided options is the Plaintiff’s right not to
                                                         make payment or call Defendant, but to dispute the debt or demand validation of the debt as
                                                         provided by 15 U.S.C. § 1692g.
                                                                  33.     The letter contains no transitional language explaining that the “options” do not
                                                         override Plaintiff’s right to dispute the debt or seek validation of the alleged debt, as set forth at
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                                                         the bottom of the letter.
                                                                  34.     The “options” provided contradict the required disclosures.
                                                                  35.     The “options” provided overshadow the required disclosures.
                                                                  36.     The “options” provided would make the unsophisticated consumer uncertain or
                                                         confused as to her rights.
                                                                  37.     Defendant's conduct would likely make the unsophisticated consumer uncertain as
                                                         to her rights.
                                                                  38.     Defendant's conduct would likely make the unsophisticated consumer confused as
                                                         to her rights.
                                                                  39.     Defendant has violated § 1692g as the above-referenced language overshadows
                                                         the information required to be provided by that Section.

                                                                                                  SECOND COUNT
                                                                                            Violation of 15 U.S.C. § 1692e
                                                                                         False or Misleading Representations

                                                                  40.     Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.
                                                                  41.     15 U.S.C. § 1692e prohibits a debt collector from using any false, deceptive, or
                                                         misleading representation or means in connection with the collection of any debt.


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                                                                 42.     While § 1692e specifically prohibits certain practices, the list is non-exhaustive,
                                                         and does not preclude a claim of falsity or deception based on non-enumerated practice.
                                                                 43.     Collection notices are deceptive if they can be reasonably read to have two or
                                                         more different meanings, one of which is inaccurate.
                                                                 44.     The question of whether a collection letter is deceptive is determined from the
                                                         perspective of the “unsophisticated consumer.”
                                                                 45.     Because the collection letter in the instant case was reasonably susceptible to an
                                                         inaccurate reading, as described above, it is deceptive within the meaning of the FDCPA.
                                                                 46.     The unsophisticated consumer would likely be deceived by Defendant's conduct.
                                                                 47.     The unsophisticated consumer would likely be deceived in a material way by
                                                         Defendant's conduct.
                                                                 48.     Defendant has violated § 1692e by using a false, deceptive and misleading
                                                         representation in its attempt to collect a debt.
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                                                                                                 THIRD COUNT
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                                                                                Violation of New York General Business Law § 349

                                                                 49.     Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.
                                                                 50.     Defendant owed a duty to Plaintiff to effect its collection of Plaintiff's alleged
                                                         debt with reasonable care.
                                                                 51.     Defendant's conduct as described herein shows a lack of exercise of reasonable
                                                         care in Defendant's collection of the alleged debt.
                                                                 52.     Defendant breached its duty to collect Plaintiff's alleged debt with reasonable
                                                         care.
                                                                 53.     Defendant's conduct was committed by Defendant in the conduct of a business,
                                                         trade or commerce or the furnishing of a service in New York State and constitutes a violation of
                                                         NY GBL § 349(a).
                                                                 54.     Defendant's conduct was consumer-orientated in that the letter was sent in an
                                                         effort to collect an alleged consumer debt.
                                                                 55.     Defendant's conduct has a broader impact on consumers at large as, upon
                                                         information and belief, Defendant has sent the subject form letter to hundreds of consumers.
                                                                 56.     Plaintiff is a reasonable consumer.



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                                                                57.      Defendant's conduct would mislead a reasonable consumer.
                                                                58.      Defendant engaged in a material deceptive act or practice as described herein.
                                                                59.      Defendant's conduct caused plaintiff to suffer injury.
                                                                60.      Defendant violated NY GBL § 349(a) and is liable to Plaintiff pursuant to NY
                                                         GBL § 349(h).
                                                                                                  JURY DEMAND

                                                                61.      Plaintiff hereby demands a trial of this action by jury.

                                                                                              PRAYER FOR RELIEF
                                                               WHEREFORE, Plaintiff respectfully requests judgment as follows:
                                                                  a.        Statutory damages against Defendant pursuant to 15 U.S.C. § 1692k of
                                                                            $1,000.00; and
                                                                  b.        Plaintiff's attorneys' fees pursuant to 15 U.S.C. § 1692k; and
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                                                                  c.        Plaintiff's actual damages; and
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                                                                  d.        Damages against Defendant pursuant to NYGBL § 349; and
                                                                  e.        Plaintiff's costs; together with
                                                                  f.        Such other relief that the Court determines is just and proper.


                                                         DATED: July 24, 2015

                                                                                                        BARSHAY SANDERS, PLLC

                                                                                                        By: _/s/ Craig B. Sanders ____________
                                                                                                        BARSHAY SANDERS, PLLC
                                                                                                        100 Garden City Plaza, Suite 500
                                                                                                        Garden City, New York 11530
                                                                                                        Tel: (516) 203-7600
                                                                                                        Fax: (516) 706-5055
                                                                                                        csanders@barshaysanders.com
                                                                                                        Attorneys for Plaintiff
                                                                                                        Our File No.: 109376




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